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                                       Certificate Number: 03088-ARE-DE-037699078
                                       Bankruptcy Case Number: 23-12088


                                                      03088-ARE-DE-037699078




             CERTIFICATE OF DEBTOR EDUCATION

I CERTIFY that on August 22, 2023, at 11:43 o'clock AM CDT, Keith L Allen
completed a course on personal financial management given by telephone by
Debt Education and Certification Foundation, a provider approved pursuant to 11
U.S.C. 111 to provide an instructional course concerning personal financial
management in the Eastern District of Arkansas.




Date:   August 22, 2023                By:      /s/Luis Villarroel


                                       Name: Luis Villarroel


                                       Title:   Counselor
